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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                           UNITED STATES DISTRICT COURT                               January 30, 2021
                            SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                VICTORIA DIVISION

STATE OF TEXAS,                                §
                                               §
       Plaintiff,                              §
                                               §
v.                                             §                Civil Action No. 6:21-cv-00003
                                               §
The UNITED STATES OF AMERICA;                  §
DAVID PEKOSKE, Acting Secretary of             §
The United States Department of Homeland §
Security, in his official capacity;            §
UNITED STATES DEPARTMENT OF                    §
HOMELAND SECURITY; TROY                        §
MILLER, Senior Official Performing the         §
Duties of the Commissioner of U.S. Customs §
and Border Protection, in his official         §
capacity; U.S. CUSTOMS AND BORDER §
PROTECTION; TAE JOHNSON, Acting §
Director of U.S. Immigration and               §
Customs Enforcement, in his official           §
capacity; U.S. IMMIGRATION AND                 §
CUSTOMS ENFORCEMENT; TRACY                     §
RENAUD, Senior Official Performing the §
Duties of the Director of the U.S. Citizenship §
And Immigration Services, in her official      §
capacity; and U.S. CITIZENSHIP                 §
AND IMMIGRATION SERVICES,                      §
                                               §
       Defendants.                             §

                                   SCHEDULING ORDER

       The disposition of Plaintiff’s Motion for Preliminary Injunction will be controlled by the

following schedule:

1.     February 3, 2021      DEFENDANTS’ PRODUCTION OF ADMINISTRATIVE
                             RECORD

2.     February 3, 2021      PARTY RESPONSES TO PROPOSED INTERVENORS

                             Responses are optional.
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4.    February 5, 2021    PLAINTIFF’S MOTION FOR PRELIMINARY
                          INJUNCTION

                          Motion and brief shall be filed as one document and shall not exceed
                          40 pages. 12 point Times New Roman font shall be used for the
                          main body and 11 point Times New Roman font shall be used for
                          footnotes. The Court discourages the prolific use of footnotes.

5.    February 10, 2021   DEFENDANTS’ PRODUCTION OF THE FOLLOWING
                          DATA:

                          1) the number of individuals in custody or detention for immigration
                             violations;

                          2) the number of individuals currently subject to final orders of
                             removal, whether in custody or not;

                          3) the number of individuals subject to a final order of removal that
                             have been released from custody or detention into the United
                             States from January 20, 2021 to present;

                          4) the number of individuals subject to a final order of removal who
                             have been released into the United States from custody from
                             January 20, 2019 to the present;

                          5) the number of individuals subject to a final order of removal who
                             have been released into the United States from custody from
                             January 20, 2019 to the present who have failed to return or
                             appear for their hearing or removal;

                          6) the percentage of individuals subject to a final order of removal
                             who have actually been removed from January 20, 2019 to the
                             present.

6.    February 10, 2021   DISCOVERY DEADLINE AND LIMITS

                          The following limitations were agreed to by the parties and are
                          adopted by the Court. Responses to discovery will be due no later
                          than seven days after the requests are served. Requests for
                          interrogatories are limited to seven for Plaintiff and seven for all
                          Defendants. Requests for admissions are limited to five for Plaintiff
                          and five for all Defendants. No requests for production are
                          permitted during this preliminary injunction phase.

                          Discovery requests are not timely if the deadline for response under
                          this Order falls after this date. Parties may continue discovery
                          beyond the deadline by agreement.



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7.     February 12, 2021       DEFENDANTS’ RESPONSE

                               Brief shall not exceed 40 pages. If any Proposed Intervenor is
                               granted permission to intervene, its Brief would be due on February
                               12, 2021 and subject to the 40-page brief limitation. 12 point Times
                               New Roman font shall be used for the main body and 11 point Times
                               New Roman font shall be used for footnotes. The Court discourages
                               the prolific use of footnotes.

8.     February 16, 2021       PLAINTIFF’S REPLY

                               Brief shall not exceed 25 pages. Same font requirements.

9.     February 19, 2021       PRELIMINARY INJUNCTION HEARING

        Any party wishing to make a discovery or scheduling motion must obtain permission
before the submission of motion papers. This includes any motion to compel, to quash, for
protection, or for extension. Lead counsel must personally confer on all discovery and scheduling
disputes as a final attempt at resolution prior to involving the Court. To obtain permission, the
party seeking relief must submit a letter not exceeding two pages. Identify the nature of the dispute,
outline the issues, and state the contested relief sought. Describe the conference between lead
counsel and summarize the results. Send a copy to all counsel and unrepresented parties. The
opposing party should promptly submit a responsive letter of similar length identifying any
disagreement. Do not submit a reply letter. The foregoing letters should be sent by email to the
Court’s case manager, Kellie Papaioannou at Kellie_Papaioannou@txs.uscourts.gov.

       It is SO ORDERED.

       SIGNED this January 30, 2021.



                                                      _____________________________________
                                                              DREW B. TIPTON
                                                      UNITED STATES DISTRICT JUDGE




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